Case 1:23-mi-99999-UNA Document 2835-5

Precision Public Adjusting

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380
CONTINUED - Living Room Clst
QUANTITY UNIT TAX O&P RCV AGE/LIFE COND. DEP % DEPREC. ACV
732. Floor preparation for resilient flooring
24.15 SF 0.53 0.17 2.60 15.57 0/50 yrs Avg. 0% (0.00) 15.57
733. Vinyl tile
24.15 SF 3.44 3.75 17.38 104.21 0/50 yrs Avg. 0% (0.00) 104.21
734, Final cleaning - construction - Residential
24.15 SF 0,27 0.00 1.30 7.82 O/NA Avg. 0% (0.00) 7.82
Totals: Living Room Clst 44,14 §25.22 3,151.08 0.00 3,151.08
Storage Room Height: 7'
j = i 285.89 SF Walls 123.67 SF Ceiling
ty oT
4 5 Say Pep Am tA 409.56 SF Walls & Ceiling 123.67 SF Floor
pbc ge ue [ 13.74 SY Flooring 40.42 LF Floor Perimeter
MOT ne 49.33 LF Ceil. Perimeter
Missing Wall - Goes to Floor 8'11" X 6' 8" Opens into STORAGE _ROO1
QUANTITY UNIT TAX O&P RCV AGE/LIFE COND. DEP % DEPREC. ACV
735. Contents - move out then reset
100 EA 60.26 0,00 12.06 72,32 O/NA Avg. 0% (0.00) 72.32
736. Mask the floor per square foot - plastic and tape - 4 mil
123.67 SF _ 0.26 0,52 6.54 39,21 O/15 yrs Avg. 0% (0.00) 39,21
737. Mask and prep for paint - plastic, paper, tape (per LF)
49,33 LF 1,43 0.93 14,28 85,75 0/15 yrs Ave. 0% (0.00) 85.75
738. R&R Outlet or switch cover
3.00 EA 4.35 0.18 2.66 15.89 0/25 yrs Avg. 0% (0.00) 15,89
739, R&R Light fixture
100EA $8.09 2a 18.08" 108.48 0/20 yrs Avg. 0% (0.00) 108.48
740. Clean floor or roof joist system - Heavy
123,67 SF 1.36 0.17 33.68 202.04 O/NA Ave. 0% (0.00) 202.04
741. Seal floor or ceiling joist system (shellac)
123.67 SF 1.38 2.68 34.68 208,02 0/15 yrs Ave. 0% (0.00) 208.02
742. R&R Crown molding - 2 1/4"
49.33 LF 5.41 5.56 54.48 326.91 0/150 yrs Avg. 0% (0.00) 326.91
743. Stain & finish crown molding
49,33 LF 1.74 0.76 17.32 103.91 O/15 yrs Avg 0% (0.00) 103.91
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Buford, GA. 20518
(770) 881-6380
3 Cat Ti SER HEY AGHHeE COND. DEF SiPREe. ace
744, Tear out wet drywall, cleanup, bag for disposal
123.67 SF 1,02 1.47 25.52 153.13 O/NA Ave. NA (0.00) 153.13
745. 5/8" drywall - hung, taped, floated, ready for paint
123.67 SF 3.02 5.89 75.88 455.25 0/150 yrs Avg. 0% (0.00) 455.25
746. Seal the ceiling w/PVA primer - one coat
123.67 SF 0.61 0.52 15.18 91.14 0/15 yrs Avg. 0% (0.00) 91.14
747. Paint the ceiling - two coats
123.67 SF 1,02 2.34 25.68 154.16 0/15 yrs Ave. 0% (0.00) 154,16
748. Clean stud wall - Heavy
285.89 SF 1,09 0.40 62.40 374.42 O/NA Avg. 0% (0.00) 374.42
749. Seal stud wall for odor control (shellac)
285.89 SF 1.02 5.40 59,40 356.41 0/15 yrs Avg. 0% (0.00) 356.41
750. Tear out and bag wet insulation
172.67 SF 0.83 0.73 28.80 172,85 O/NA Avg. NA (0.00) 172.85
751. Batt insulation - 4"- R11 - paper / foil faced
eRe ase 8 GAG RGU. RW een BG
Bhi GISTs dug = 8 Gey etki
at OSes Avg coy BO.
1oe38 OMA, ae |= ROK), LESTE:
Si Sse ae wo 86 SsMar
759. Door knob - interior
1.00 EA 40.95 1.50 8.50 50.95 0/20 yrs Avg. 0% (0.00) 50.95
760. R&R Interior door unit
1,00 EA 315.75 15.63 66,28 397.66 0/100 yrs Avg. 0% (0,00) 397.66
761. Stain & finish door slab only (per side)
2.00EA 60.22 1.33 24.34 146.11 0/15 yrs Avg. 0% (0.00) 146.11
762. Stain & finish door/window trim & jamb (per side)
2.00 EA 42.14 0.93 17.04 102.25 0/15 yrs Avg. 0% (0.00) 102.25
OSCAR_BARNES 9/5/2022 Page: 50
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Precision Public Adjusting
4195 Sotith Lee St, SuiteT.

CONTINUED - Storage Room
QUANTITY: ONT? TAM OP RCV AGCH/LIFE:. COND. DEP % ‘DEPREC. ACY
763. Tear out trim and bag for disposal - up to Cat 3
40.42 LF 0.97 0.51 7.94 47.66 O/NA Ave. NA (0.00) 47.66
764. Base shoe
40.42 LF 1.85 215 15.40 92,33 0/150 yrs Avg. 0% (0.00) 92.33
765. Stain & finish base shoe or quarter round
40.42 LF 1.32 0.62 10.80 64.77 0/15 yrs Avg. 0% (0.00) 64.77
766, Tear out baseboard and bag for disposal - up to Cat 3
40.42 LF 0.97 0.51 7,94 47.66 O/NA Ave. NA (0.00) 47.66
767. Baseboard - 3 1/4"
40.42 LF 4.22 5.04 35.12 210,73 0/150 yrs Avg. 0% (0.00) 210.73
768. Stain & finish baseboard
40.42 LF 1.61 0.62 13,14 78.84 O/1S yrs Avg. 0% (0.00) 78.84
769. Door stop - wall or floor mounted
10O0EA 14,10 0.44 2.90 17.44 0/20 yrs Avg. 0% (0.00) 17.44
770. R&R Vinyl - metal transition strip
7.00 LF 3.68 0.68 5.30 31.74 0/50 yrs Avg. 0% (0.00) 31.74
771. Water extraction from hard surface floor
123.67 SF 0.24 0.00 5.94 35.62 O/NA Avg. 0% (0.00) 35.62
772. Tear out non-salvageable vinyl, cut & bag for disposal
63.00 SF 1.48 0.26 18.70 112.20 O/NA Avg. NA (0.00) 112.20
773. Tear out non-salvageable viny!, cut & bag for disposal
60.67 SF 1.48 0.25 18.02 108.06 O/NA Avg. NA (0.00) 108.06
774. Clean concrete the floor
123.67 SF 0.32 0.09 7.94 47.60 O/NA Avg. 0% (0.00) 47.60
775, Apply anti-microbial agent to the floor
123.67 SF 0.28 0.35 7.00 41.98 O/NA Avg. 0% (0.00) 41.98
776, Floor preparation for resilient flooring
123.67 SF 0.53 0.87 13.30 79.72 0/50 yrs Avg, 0% (0.00) 79.72
777. Viny! floor covering (sheet goods)
72.45 SF 2.80 §.47 42.28 253.61 0/50 yrs Avg. 0% (0.00) 253.61
778. Vinyl tile
60.67 SF 3.44 9,43 43.62 261.75 0/50 yrs Avg. 0% (0.00) 261.75
779. Final cleaning - construction - Residential
123.67 SF 0.27 0.00 6.68 40.07 O/NA Avg. 0% (0.00) 40.07
Totals: Storage Room 112.18 1,215.82 7,294.67 0.00 7,294.67
OSCAR_BARNES 9/5/2022 Page: 51
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ablic Adjusting

Heighti'7'
#15 $Y Floc 20:38. LF Boor Pepimeter
29.50 Le Geil. Perimeter
Missing Wall - Goes to Floor 8'11" X 6' 8" Opens into STORAGE ROOM
QUANTITY UNIT TAX O&P RCV AGE/LIFE COND. DEP %  DEPREC. ACV
780, Contents - move out then reset - Small room
1.00 EA 45,23 0.00 9.04 54.27 O/NA Avg. 0% (0.00) 54,27
781. Mask the floor per square foot - plastic and tape - 4 mil
37.38 SF 0.26 0.16 1.98 11.86 0/15 yrs Avg. 0% (0.00) 11.86
782. Mask and prep for paint - plastic, paper, tape (per LF)
29,50 LF 1.43 0.56 8.56 51.31 O/15 yrs Avg. 0% (0.00) 31.31
783. R&R Outlet or switch cover
1.00 EA 4.35 0.06 0.90 5.31 0/25 yrs Avg. 0% (0.00) 5.31
784. Clean floor or roof joist system - Heavy
37.38 SF 1.36 0.05 10.18 61.07 O/NA Avg. 0% (0.00) 61.07
785. Seal floor or ceiling joist system (shellac)
37.38 SF 1.38 0.81 10.48 62.87 O/T5 yrs Avg. 0% (0.00) 62.87
786. R&R Crown molding - 2 1/4"
29.50 LF 5.41 3.33 32.60 195.53 0/150 yrs Avg. 0% (0.00) 195,53
787. Stain & finish crown molding
29.50 LF 1.74 0.45 10.36 62.14 O/15 yrs Avg. 0% (0.00) 62.14
788. Tear out wet drywall, cleanup, bag for disposal
37.38 SF 1.02 0.44 7.70 46.27 O/NA Avg. NA (0.00) 46.27
789. 5/8" drywall - hung, taped, floated, ready for paint
37.38 SF 3.02 1.78 22,94 137.61 0/150 yrs Avg. 0% (0.00) 137.61
790. Seal the ceiling w/PVA primer - one coat
37.38 SF 0.61 0.16 4.60 27.56 O/15 yrs Avg. 0% (0.00) 27.56
791. Paint the ceiling - two coats
37.38 SF 1.02 0.71 7.76 46.60 O/15 yrs Avg. 0% (0.00) 46.60
792. Clean stud wall - Heavy
147.06 SF 1,09 0.21 32.10 192.61 O/NA Avg. 0% (0.00) 192.61
793. Seal stud wall for odor control (shellac)
147.06 SF 1,02 2.78 30.56 183.34 0/15 yrs Avg. 0% (0.00) 183,34
794, Tear out and bag wet insulation
22.75 SF 0.83 0.10 3,80 22.78 O/NA Avg. NA (0.00) 22.78
795. Batt insulation - 4"- R11 - paper / foil faced
22.75 SF 0.80 0.81 3.80 22.81 0/150 yrs Avg. 0% (0.00) 22.81
Insulation on exterior walls,
796. Tear out wet drywall, cleanup, bag for disposal
147.06 SF 1.02 15 30.36 182.11 O/NA Avg. NA (0.00) 182,11
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805.

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810.

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20.58 LF 0.97 : 4.06

Base shoe
20.58 LF 1.85 1.09 7.84
Stain & finish base shoe or quarter round
20.58 LF 1.32 0.32 5.50
Tear out baseboard and bag for disposal - up to Cat 3
20.58 LF 0.97 0.26 4.06
Baseboard - 3 1/4"
20.58 LF 4.22 2.56 17.90
Stain & finish baseboard
20,58 LF 1.61 0.32 6.68
Water extraction from hard surface floor
37.38 SF 0.24 0.00 1.80
. Tear out non-salvageable vinyl, cut & bag for disposal
37.38 SF 1.48 0.16 11.10
. Clean concrete the floor
26Re

0/150 yrs
0/15 yrs
O/NA
0/150 yrs
O/15 yrs
O/NA

O/NA

Avg.

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Precision Public Adjustiag

‘Buford, GA 30518
(770) 881-6380

‘CONTINUED - Storage Room Clst

1.00 EA 23.97 0.01
825. R&R Water heater blanket
1.00 EA 61.43 1.69
826. Clean floor or roof joist system - Heavy
44.72 SF 1.36 0.06
827. Seal floor or ceiling joist system (shellac)
44.72 SF 1.38 0.97
$28. Clean stud wall - Heavy
189.00SF 1.09 0.26

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9/5/2022

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Precision Public Adjusting

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4195 South Lee St., Suite I
Buford, GA 30518

(770) 881-6380
CONTINUED - HVAC
QUANTITY UNIT TAX O&P RCV AGE/LIFE COND. DEP % DEPREC. ACV
829. Seal stud wall for odor control (shellac)
189.00 SF 1.02 3.57 39,28 235.63 0/15 yrs Avg. 0% (0.00) 235.63
830. Door knob - interior
1,00 EA 40.95 1.50 8.50 50.95 0/20 yrs Ave. 0% (0.00) 50.95
831. R&R Interior door unit
1.00EA 315.75 15.63 66.28 397.66 0/100 yrs Avg. 0% (0.00) 397.66
832. Stain & finish door slab only (per side)
2.00 BA 60.22 1,33 24.34 146.11 0/15 yrs Avg. 0% (0.00) 146.11
833. Water extraction from hard surface floor
44,72 SF 0,24 0.00 2.14 12,87 O/NA Avg. 0% (0.00) 12.87
834, Clean concrete the floor
44,72 SF 0.32 0.03 2.86 17.20 0/NA Avg. 0% (0.00) 17.20
835. Apply anti-microbial agent to the floor Z
44.72 SF 0.28 0.13 2,52 15.17 O/NA Avg. 0% (0.00) 1§.17
$36. Concrete sealer - brush or spray applied
44,72 SF 0.95 2.19 8.94 53.61 0/4 yrs Avg. 0% (0.00) 53.61
837. Final cledning - construction - Residential
44,72 SF 0.27 0.00 2.42 14.49 O/NA Avg. 0% (0.00) 14.49
Totals: HVAC 247.30 2,349.14 = 14,094.76 0.00 14,094.76
Total: Basement 636.07 6,872.88 41,235.84 0.00 41,235.84
Total: Interior 2,139.00 22,190.48 137,818.07 0.00 137,818.07
Electrical
QUANTITY UNIT TAX O&P RCV AGE/LIFE COND. DEP%  DEPREC. ACV
838. Megohmmeter check electrical circuits - average residence
100EBA 1,002.59 0.00 200.52 1,203.11 O/NA Avg. 0% (0.00) 1,203.11
Totals: Electrical 0.00 200.52 1,203.11 0.00 1,203.11
Foundation
QUANTITY UNIT TAX O&P RCV AGE/LIFE COND. DEP %  DEPREC. ACV

OSCAR_BARNES

9/5/2022

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

CONTINUED - Foundation

RCV .AGE/LIFE . DEP %  (DEPREC.

715.90 SF 0.91

0.00 658.99 O/NA Avg. 0% (0.00) 658:
842. Peel & seal zipper
3.00 EA 13.04 1.94 0.00 41.06 O/NA Avg. 0% (0.00) 41.06
843, Air mover (per 24 hour period) - No monitoring
42.00 EA 31.00 0.00 0.00 1,302.00 O/NA Avg. 0% (0.00) 1,302.00
14 units for 3 days
844. Neg. air fan/Air scrub.-Large (per 24 hr period)-No monit.
12.00DA 121.54 0.00 0.00 1,458.48 0/NA Avg. 0% (0.00) 1,458.48
3 units for 3 days
845, Add for HEPA filter (for neg. air machine/vacuum - Large)
4.00 EA 314.09 84.41 0.00 1,340.77 O/NA Avg. 0% (0.00) 1,340.77
846, Equipment setup, take down, and monitoring (hourly charge)
14.00 HR 56.77 0.00 0.00 794.78 O/NA Avg, 0% (0.00) 794.78
4 hours for setup, 4 hours for take down and 2 hours each day for monitoring.
‘847. Equipment decontamination charge - per piece of equipment
18.00 EA 33.13 3.96 0.00 602.30 O/NA Ave. 0% (0.00) 602.30
848. Personal protective mask (N-95)
12.00 EA 3.23 2.71 0.00 41.47 O/NA Avg. 0% (0.00) 4147
849. Water Extraction & Remediation For Guest Bedroom*
1.00 EA 2,042.00 0.00 0.00 2,042.00 O/NA Avg. 0% (0.00) 2,042.00
Guest bedrooni clean up and dry out. Per D&B Property Restoration, LLC (770) 906-3355, invoice #2 dated 8/12/2022.
850. Debris Removal*
1.00 EA 600.00 0.00 0.00 600.00 O/NA Avg. 0% (0.00) 600.00
Water extraction and demo debris removal. Per D&B Property Restoration, LLC (770) 906-3355, invoice #2 dated 8/12/2022.
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

CONTINUED - Water Mitigation

QUANTITY UNIT TAX O&P RCV AGE/LIFE COND, DEP%  DEPREC, ACY
Totals: Water Mitigation 102.54 0.00 8,881.85 0.00 8,881.85

Tree Removal

QUANTITY UNIT TAX O&P RCV AGE/LIFE COND. DEP % DEPREC. ACV
851. Tree Removal From Roof*
1.00 EA 24,600.00 0.00 0,00 24,600.00 O/NA Avg. NA (0.00) 24,600.00

Complete removal of 93 LF (69" diameter) tree from off of roof. Per D&B Property Restoration, LLC (770) 906-3355, invoice #1 dated 8/12/2022.
852, Satefy Tie-Off of Additional Tree Limbs*
1.00 EA 3,400.00 0.00 0.00 3,400.00 0/NA Avg. NA (0.00) 3,400.00

Safety tie-off of additional tree limbs (25-30 diameter) to prevent additional damage during tree removal from roof. Per D&B Property Restoration,
LLC (770) 906-3355, invoice #1 dated 8/12/2022.
853. Tree Removal From Roof*

LEADS ea

“$58. ‘Tree Debris Removal
1.00 EA 1,400.00 0.00 0.00 1,400.00 O/NA Avg. NA (0.00) 1,400.00
Removal of 69" diameter tree debris from property. Per D&B Property Restoration, LLC (770) 906-3355, invoice #1 dated 8/12/2022.
859. Tree Debris Removal*
1.00 EA 1,400.00 0.00 0.00 1,400.00 O/NA Avg. NA (0.00) 1,400.00
Removal of 30-43" diameter tree debris from property. Per D&B Property Restoration, LLC (770) 906-3355, invoice #1] dated 8/12/2022.

Totals: Tree Removal 0.00 0.00 47,664.00 0.00 = 47,664.00

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oe ‘306 | ON
arg to protect property. Per D&B Property Restoration, LIC

Per L a7?
0.08 Ceo = 2,008.0,

TAX Ee ey, Aces SOND, eS _ DEPRE: acy

6,00 603 = 2400068 ON Ave = NA 6:00) - 2,400.06.

op dee ronei and chinip.cost for bedroom and Poof denio: Per D&B Property Restoration, LLC (77) 006-3355, invotee #3 Gated
a
‘862, Dumpater'load s Approx. 40 yards, 7-8 tone af debris: i et f
200BA. 526.60 6.00 36800 2,208.00 ONA- Avg NA (000) 2,308.00.
ae ay SSS _ = oe OE 7...
Landscaping
QUANTITY UNIT TAX O&P RCV AGE/LIFE COND. DEP % DEPREC. ACV
YARD DAMAGED DURING TREE REMOVAL
863. Skid steer loader and operator
4.00 HR 97.30 0.00 77.84 467.04 O/NA Avg. 0% (0.00) 467.04
864. Tiller and operator
2.00 HR 55.11 0.00 22.04 132.26 O/NA Ave, 0% (0.00) 132.26
865. Topsoil (per CY)
10.00 CY 34,24 23.97 73.28 439.65 O/NA Ave. (0.00) 439.65
866. Lawn - hand seeding
1,500.00 SF 0.07 4.20 21.84 131.04 O/NA Avg. (0.00) 131.04

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My+ Indicates that the deprosiation pecoentage was indi ty txerediomnilioeslie Sorprundalinn on Whe Sen:

Grand Tofal Areas:
rRsted SE Wal
2350.47 SF Floor
1,766.18 SP Long Wail

3,184.98 Exterior Wall, Atos,

3,218.62 Surface
6O.00 hdl Hhige engl

OSCAR_ BARNES

238947 SP Calling. 16,228.39. SF Walls und Ceiling
26226 SY Flav: SAI228 LE Binor Perini
176615 Sk Shoxt Wall 4,020.08 LF Cell. Perimeler

S219 ‘Numiber of Squares 332.7)
1SL.27 “otal Hip Length

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Cie

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BaF

Dwelling - Code Upgrade 0.00 0.00% 0.00 0.00%
Other Structures 0.00 0.00% 0.00 0.00%
Contents 0.00 0.00% 0.00 0.00%
Total 336,811.52 100.00% 336,811.52 100.00%
9/5/2022

OSCAR_BARNES

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

Summary for Dwelling
Line Item Total 285,638.43
Material Sales Tax 4,732.43
Subtotal 290,370.86
Overhead 21,820.33
Profit 21,820.33
Replacement Cost Value $334,011.52
Less Deductible (1,441.00)
Less Amount Over Limit(s) (23,331.52)
Net Claim $309,239.00

Jennifer McPherson

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

Summary for Dwelling - Tree Debris

Line Item Total 2,800.00

Replacement Cost Value $2,800.00

Less Amount Over Limit(s) (1,800.00)

Net Claim $1,000.00
Jennifer McPherson

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380
Summary for Dwelling - Code Upgrade
Line Item Total 0.00
Replacement Cost Value $0.00.

Teunifex McPherson

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

Recap of Taxes, Overhead and Profit

Overhead (10%) Profit (10%) Material Sales Tax Storage Rental Tax Local Food Tax (3%)

(7%) (7%)
Line Items 21,820.33 21,820.33 4,732.43 0.00 0.00
Total 21,820.33 21,820.33 4,732.43 0.00 0.00

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518

(770) 881-6380
Recap by Room
Estimate: OSCAR_BARNES
Area: Exterior
Afea: Roof 33,799.52, ALTA:
Coveraze: Dwelling: LOn00%8 *
Hetise Root ta 50%
Coverage: Dwelling 100:00% =
Area Subtotals: Roof 48,505,84 16 82%
Coverage: Dwelling: iodo0%s = 48,505.84
Artal FYontEiéWation 20,669.40 117%
Coverage: Dwelllug to0s0% = 20,669.40
Front Beck B,190.22 18%:
Coverage: Dwelling, 100,00% = 85190:22
‘Area Subtotals: Front Rievation 28,859.62 {Has%
Coverage: Dwelling tego096 = 29,859.62
Right Elevation 11,780.21 4.08%
Coverage: Dwelling 100.00% = 11,780.21
Area: Rear Elevation 3,616.17 1.25%
Coverage: Dwelling 100.00% = 3,616.17
Area Subtotal: Rear Elevation 3,616.17 1.25%
Coverage: Dwelling 100.00% = 3,616.17
Left Elevation 11,102.85 3.85%
Coverage: Dwelling 100.00% = 11,102.85
Area Subtotal: Exterior 104,864.69 36.36%
Coverage: Dwelling 100.00% = 104,864.69
Area: Interior
Area: Main Level
Attic 6,250.12 2.17%
Coverage: Dwelling 100.00% = 6,250.12
Guest Bedroom 14,783.75 5.13%
Coverage: Dwelling 100.00% = 14,783.75
Guest Bdrm Clst 1,547.32 0.54%
Coverage: Dwelling 100.00% = 1,547.32

OSCAR_BARNES 9/5/2022 Page: 65
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Precision Public Adjusting

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

Guest Bedroom 2
Coverage: Dwelling
Guest Bdrm Clst 2
Coverage: Dwelling
Hall Clst
Coverage: Dwelling
Main Hall

Coverage: Dwelling
Family Room

Coverage: Dwelling
Dining Room

Coverage: Dwelling
Kitchen

Coverage: Dwelling
Stairs to Basement

Coverage: Dwelling
Living Room

Coverage: Dwelling
Hallway

Coverage: Dwelling
Hall Clst

Coverage: Dwelling
Master Bedroom

Coverage: Dwelling
Master Clst
Coverage: Dwelling

Area Subtotal: Main Level
Coverage: Dwelling

Area: Basement
Living Room

Coverage: Dwelling
Living Room Clst

Coverage: Dwelling
Storage Room

Coverage: Dwelling
Storage Room Clst

Coverage: Dwelling
HVAC

Coverage: Dwelling

Area Subtotal: Basement
Coverage: Dwelling

OSCAR_BARNES

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3,677.72 1.28%
3,677.72
651.70 0.23%
651.70
1,330.89 0.46%
1,330.89
2,320.41 0.80%
2,320.41
8,554.22 2.97%
8,554.22
3,554.90 1.23%
3,554.90
13,507.98 4.68%
13,507.98
946.53 0.33%
946.53
9,345.68 3.24%
9,345.68
1,386.11 0.48%
1,386.11
676.91 0.23%
676.91
8,858.64 3.07%
8,858.64
2,368.82 0.82%
2,368.82
79,761.70 27.65%
79,761.70
11,003.33 3.81%
11,003.33
2,581.72 0.90%
2,581.72
5,966.67 2.07%
5,966.67
2,676.85 0.93%
2,676.85
11,498.32 3.99%
11,498.32
33,726.89 11.69%
33,726.89
9/5/2022 Page: 66
Case 1:23-mi-99999-UNA Document 2835-5 Filed 09/01/23 Page 19 of 148

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18.000% = ce
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Gon $85.00% =
Water Mitigation 3.04%
Coverage: Dwelling 100.00% = 8,779.31
Tree Removal 47,664.00 16.52%
Coverage: Dwelling 94.13% = 44,864.00
Coverage: Dwelling - Tree Debris 5.87% = 2,800.00
Emergency Services 2,000.00 0.69%
Coverage: Dwelling 100.00% = 2,000.00
Debris Removal 4,240.00 1.47%
Coverage: Dwelling 100.00% = 4,240.00
Landscaping 1,696.82 0.59%
Coverage: Dwelling 100.00% = 1,696.82
Temp Services 636.90 0.22%
Coverage: Dwelling 100.00% = 636.90
Labor Minimums Applied 271.70 0.09%
Coverage: Dwelling 100.00% = 271.70
Subtotal of Areas 288,438.43 100.00%
Coverage: Dwelling 99.03% = 285,638.43
Coverage: Dwelling - Tree Debris 0.97% = 2,800.00
Total 288,438.43 100.00%

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518

(770) 881-6380
Recap by Category
O&P Items Total %
APPLIANCES 44,05 0.01%
evene Dwclline @ 100.00% = 44.05
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#008 : GVERING.- CARPE = alee 132%:
FLOOR COVERING - CRRAMEC TILE PLA. 1.58%
Coverage: Dwelling. Ee OBGO%G =
FLOOR COVERING-VOVE, aw:
Covemge: welling, @ Wipde=
BLOGGER COVERING -WwooD Lato G26
Coverage: Dwelting: @ Ws = : 1
CORY:
@ 900% =
; S28 %
@ don
: aa as B18%.
@ = 100.00% =
FRAMING & ROUGH CARPENTRY 32,822.58 9.75%
Coverage: Dwelling @ 100.00% = 32,822.58
HEAT, VENT & AIR CONDITIONING 9,363.66 2.78%
Coverage: Dwelling @ 100.00% = 9,363.66
INSULATION 3,494.55 1.04%
Coverage: Dwelling @ 100.00% = 3,494.55
LIGHT FIXTURES 1,664.73 0.49%
Coverage: Dwelling @ 100.00% = 1,664.73

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Precision Public Adjusting

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380
O&P Items Total %
LANDSCAPING 1,307.62 0.39%
Coverage: Dwelling @ 100.00% = 1,307.62
MASONRY 15,932.44 4.73%
Coverage: Dwelling @ 100.00% = 15,932.44
PLUMBING 959.20 0.28%
Coverage: Dwelling @ 100.00% = 959.20
PANELING & WOOD WALL FINISHES 2,960.56 0.88%
Coverage: Dwelling @ —100.00% = 2,960.56
PAINTING 31,069.28 9.22%
Coverage: Dwelling @ 100.00% = 31,069.28
ROOFING 10,742.87 3.19%
Coverage: Dwelling @ 100,00% = 10,742.87
SIDING 3,264.93 0.97%
Coverage: Dwelling @ 100.00% = 3,264.93
SOFFIT, FASCIA, & GUTTER 10,437.50 3.10%
Coverage: Dwelling @ 100.00% = 10,437.50
TEMPORARY REPAIRS 636.90 0.19%
Coverage: Dwelling @ 100.00% = 636.90
WINDOW TREATMENT 1,158.52 0.34%
CoNenee Dueling, @ = 490.00%. =. LAS8,82,
& Tomee
WAFER IXTRACOON i REMESATION. DAN:
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Roverager walleye Tren Dabs: ee
SIRE RQUEMERT “AERICOET a Tis hhe
TEMPORARY REPAIRS 0.59%
Coverage: Dwelling @ 100.00% =
WATER EXTRACTION & REMEDIATION 8,779.31 2.61%
Coverage: Dwelling @ 100.00% = 8,779.31
Non-O&P Items Subtotal 74,871.29 22.23%
O&P Items Subtotal 213,567.14 63.41%
Material Sales Tax 4,732.43 1.41%
Coverage: Dwelling @ ——_-100,00% = 4,732.43
Overhead 21,820.33 6.48%
OSCAR_BARNES 9/5/2022 Page: 69
Case 1:23-mi-99999-UNA Document 2835-5

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Precision Public Adjusting =
4195 South Lee St., Suife I
Buford, GA 30518
(770) 881-6380
Coverage: Dwelling @ 100.99% = 23,820.33
Profit 21,820.33 48%
Coverage: Dwelling @ 100.00% = 21,820.33
Total 336,811.32 100.00%

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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OSCAR BARNES 9/5/2022 Page: 71
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Precision Public Adjusting

A198 Sout Lee St., ‘Suite.
Budord, Ga, 30518
(770) 882-0380

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Precision Public. Adjusting _

A195 South Lee St, Suited. |
Buford. GA 30518

(770) 881-6380

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Precision Public Adjusting

4195 South Lee St, Suite I
Buford, GA 30518
(770) 881-6380

5 Exterior/Roof/House Roof - 5-IMG_
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

6 Exterior/Roof/House Roof - 6-IMG_
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

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Buford, GA 30518
(778) 881-6380

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12 Exterior/Roof/House Roof - 12-
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

13 Exterior/Roof/House Roof - 13-
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
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Page: 85
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Precision Public Adjusting

4195 South Lee St, Suite]
Buford, GA 30518
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16 Exterior/Roof/House Roof - 16-
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

18 Exterior/Roof/House Roof - 18-
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Precision Public Adjusting

4195 South Lee-St., Suite]
Buford, GA 30318
(770) 881-6380

19 Exterior/Roof/House Roof - 19-
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20 Exterior/Front Elevation - 20- Date Taken: 8/30/2022
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Precision Public Adjusting

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Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

4195 South Lee St, Suite 1
Buford, GA 30518
(770) 831-6380

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23 Exterior/Front Elevation - 23- Date Taken: 8/30/2022
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OSCAR_BARNES 9/5/2022 Page: 93
Case 1:23-mi-99999-UNA Document 2835-5 Filed 09/01/23 Page 46 of 148

Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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24 Exterior/Front Elevation - 24- Date Taken: 8/30/2022
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B751-A3BCB7B0D708

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
' (770) 881-6380

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25 Exterior/Front Elevation - 25- Date Taken: 8/30/2022
Media 43-52488D1F-E60E-4B35-

93D4-3ESE87C06B53

OSCAR_BARNES 9/5/2022 Page: 95
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

26 Exterior/Front Elevation - 26-
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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27 Exterior/Front Elevation - 27- Date Taken: 8/30/2022
Media 44-4404B9C7-279D-45FE-
A38F-5EECCD1D6C81

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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28 Exterior/Front Elevation - 28- Date Taken: 8/30/202
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

4195 South Lee St, Suite T
Buford, GA 30518
(779) 881-6380

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Date Taken: 8/30/2022

31 Exterior/Front Elevation - 31-
Media 195-A863B54C-0418-49C6-
AF68-6E3B08B3B46

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

32 Exterior/Front Elevation - 32- Date Taken: 8/30/2022
Media 192-FBB861B0-3EBD-

4DB6-AC3E-88B97A315D5

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
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33 Exterior/Front Elevation - 33- Date Taken: 8/30/2022
Media 45-E7CF1384-2115-47F2-
A820-8D1F9E070225

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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35 Exterior/Front Elevation - 35- Date Taken: 8/30/2022
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9728-2B8199AF216

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Precision Public Adjusting

4195 South Lee St, Suite [
Buford, GA 30518
(770) 881-6380

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36 Exterior/Front Elevation - 36-

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Date Taken: 8/30/2022

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

37 Exterior/Front Elevation - 37- Date Taken: 8/30/2022
Media 3-ODFOCAF0-4618-44E2-
8141-BDB28E379C70

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

39 Exterior/Front Elevation - 39- Date Taken: 8/30/2022
Media 4-512DE422-6756-4450-
AC77-E61879872E1D

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40 Exterior/Front Elevation - 40- Date Taken: 8/30/2022
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

42 Exterior/Front Elevation - 42- Date Taken: 8/30/2022
Media 6-EDB89C2C-2D06-4949-
920E-79497772D209

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45 Exterior/Front Elevation - 45- Date Taken: 8/30/2022
Media 7-1D89BA64-F8B0-448C-
9EB5-DD63EBE0C468
OSCAR_BARNES

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Case 1:23-mi-99999-UNA Document 2835-5 Filed 09/01/23 Page 68 of 148

Precision Public Adjusting

£195 South Lee St, Suite L
Buford, GA 30518
(778) 881-6380

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

4195 South Lee St., Suite J
Buford, GA 30518
(770) 881-6380

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4195 South Lee St, Suite T
Buford, GA 30518
(770) 881-6380

53 Exterior/Front Elevation - 53- Date Taken: 8/30/2022
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OSCAR_BARNES 9/5/2022 Page: 123
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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55 Exterior/Front Elevation - 55- Date Taken: 8/30/2022
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30578
(F7OY 881-6380

56 Exterior/Front Elevation - 56- Date Taken: 8/30/2022
Media 203-753294CD-C821-48FC-
892D-41DAAI13E58C

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Precision Public Adjusting

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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59 Exterior/Right Elevation - 59-
Media 11-660F2A4C-5269-4ECB-
8C44-0153ADB2106D

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Date Taken: 8/30/2022

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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60 Exterior/Right Elevation - 60- Date Taken: 8/30/2022
Media 198-42F5AC22-6B 13-4F6F-
9800-B21E8A6DDEC

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Precision Public Adjusting

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Buford, GA 30518
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61 Exterior/Right Elevation - 61- Date Taken: 8/30/2022

Media 12-44F9B064-CA9A-4E8A-
8F93-ADFF90C9OFAFE

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64 Exterior/Rear Elevation - 64-Media Date Taken: 8/30/2022
14-541 D0EDD-008E-4468-91CC-
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Precision Public Adjusting

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Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

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Buford, GA 30518
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66 Exterior/Rear Elevation - 66-Media Date Taken: 8/30/2022
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Precision Public Adjusting

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Buford, GA 30518
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Precision Public Adjusting

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Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

4195 South Lee St., Suite |
Buford, GA 30518
(770) 881-6380

70 Exterior/Rear Elevation - 70-Media Date Taken: 8/30/2022
22-FC4FF 142-B6C7-4BE8-9C5A-
283D5F4B4317

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

71 Exterior/Rear Elevation - 71-Media Date Taken: 8/30/2022
23-791] LETEA-8F74-415A-BB8A7-
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72 Exterior/Rear Elevation - 72-Media Date Taken: 8/30/2022
24-E1F5BB56-399A-4283-AC4E-
93D89C90C729

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Precision Public Adjusting

4195 South Lee St., Suite |
Buford, GA 30518
(770) 881-6380

2B Exterior/Rear Elevation - 73-Media Date Taken: 8/30/2022
18-3523A70E-C493-4107-8D37-
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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74 Exterior/Rear Elevation - 74-Media Date Taken: 8/30/2022

13-DAEA46FA-FECA-4F66-929E-

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Precision Public Adjusting

4195 South Lee St., Suite I
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Precision Public Adjusting

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Precision Public Adjusting,

77 Exterior/Rear Elevation -77-Media Date Taken: 8/30/2022
25-C8459E9A-E012-43FA-AD24-
8DA6361234DB

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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78 Exterior/Rear Elevation - 78-Media Date Taken: 8/30/2022

197-75FF38D0-6277-4A 1A-ACE3-
E4C58114AE9

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
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86 Exterior/Left Elevation - 80-Media Date Taken: 8/30/2022
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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
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81 Exterior/Left Elevation - 81-Media Date Taken: 8/30/2022
31-227B0740-00E2-4150-9101-

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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82 Exterior/Left Elevation - 82-Media Date Taken: 8/30/2022
30-3987A26E-894B-4CF7-8EAA-
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4195 South Lee St, SuiteT
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Buford, GA 30518
(770) 881-6380

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88 Exterior/Left levation - 88-Media Date Taken:
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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

89 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 89-Media 71-
FA0CDCC2-6464-4336-A8E3-
D74AFB035285

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92 Interior/Main Level/Guest

Date Taken: 8/30/2022
Bedroom - 92-Media 49-
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5161F68BD652

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

93 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 93-Media 56-
7C08 1188-FC89-4054-BS5A0-
7A241D9C9SFE

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Buford, GA 30318
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Precision Public Adjusting

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Buford, GA 30518
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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

96 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 96-Media 54-
C2536593-288B-44DC-9D96-
T9AS6I65FESD

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

97 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 97-Media 52-
F1A4CD2C-A9A6-45E1-85ED-
ECFA818AFE9C

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4195 South Tee St, Suite,
Burd, GA, 30818
(776) 881-6320

98 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 98-Media 53-
4FEE4BD4-7885-4492-AE0F-
S581FDFE4D95A

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4195 South Lee St., Suite I
Buford, GA 30518
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100 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 100-Media 51-
5033B554-7B48-4A 7D-B8FB-
39FCA18FE245

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Buford, GA 30518
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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

102 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 102-Media 62-
E924F95D-63D7-4D74-83C9-
D6E541AF8573

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103 Interior/Main Level/Guest
Bedroom - 103-Media 63-
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Date Taken: 8/30/2022

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

104 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 104-Media 58-
IDEFBDA7-9F A4-436D-973 A-
5E1997940C10

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4195 South Lee St, SuiteT
Bulord, GA 30518
(770) 881-6380

105 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom - 105-Media 59-
B86BC3 AF-DAAC-44A7-9547-
99F0CB421329

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Precision Public Adjusting

4195 South Lee St, Suite I
Buford, GA 30518
(770) 881-6380

106 Interior/Main Level/Guest Bdrm Date Taken: 8/30/2022
Clst - 106-Media 60-DA6999B4-
E1B2-4532-BD92-E2882E0B6ED5

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Bhibrd, GA, 30518

Date Taken: 8/30/2022

107 Interior/Main Level/Guest
Bedroom 2 - 107-Media 76-
A4980AF3-81AC-443E-AB73-
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Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom 2 - 108-Media 77-
147803D9-343A-49DE-8584-

B5A6F9E83799

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Buford, GA 30518
(770) 881-6380

111 Interior/Main Level/Guest Date Taken: 8/30/2022
Bedroom 2 - 111-Media 65-
66573DE2-AA2A-4AF3-BB35-
2A448161A180

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Precision Public Adjusting

4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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113 Interior/Main Level/Hall Clst - 113- Date Taken: 8/30/2022
Media 67-211A71EE-47D7-4DE3-
B14E-3949FAD3E22D

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114 Interior/Main Level/Hall Clst - 114- Date Taken: 8/30/2022
Media 72-535E198 1-52B8-42E2-
8C84-4EEF81D4295B

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Buford, GA 30518
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115 Interior/Main Level/Hall Clst - 115- Date Taken: 8/30/2022
Media 68-B9371D3A-577D-4FAF-
83CD-0837FA2EFF10

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

116 Interior/Main Level/Hall Clst - 116- Date Taken: 8/30/2022
Media 73-FFF1B901-5AB7-417B-
BB62-A4C004568CBF

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Interior/Main Level/Main Hall - Date Taken: 8/30/2022
120-Media 64-CE9B2664-E190-
47AF-AED2-767FCE5B 1023

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Buford, GA 30518
(770) 881-6380

121 Interior/Main Level/Family Room - Date Taken: 8/30/2022
121-Media 70-D9AAC781-B33C-
4CED-A0D6-FC958CC9IECIC

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Buford, GA 30518
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122 Interior/Main Level/Family Room - Date Taken: 8/30/2022
122-Media 188-8C932E85-F6BE-
4312-B3D9-7F80DFB7955

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4195 South Lee St., Suite I
Buford, GA 30518
(770) 881-6380

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123 Interior/Main Level/Family Room - Date Taken: 8/30/2022
123-Media 184-C45F5D3 1-5743-
4BFE-96C2-55E6FD72415

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Buford, GA 30518
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124 Interior/Main Level/Family Room - Date Taken: 8/30/2022
124-Media 189-03BE5D0D-85BC-
400B-8126-BCED1556843

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125 Interior/Main Level/Family Room - Date Taken: 8/30/2022
125-Media 187-FF0D3B66-52F0-
42CD-BBC0-9DE03C4F60C

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